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UNITED STATES DlSTRlCT COURT
FOR THE
WESTERN DISTRICT `OF TENNESSEE

 

UNITED STATES OF AMERICA

CR. No- 03-20051-M1
VS.

DAVID WILLIAMS

APPLICATION, ORDER and WR|T FOR HABEAS CORPUS AD PROSEOUENDUM

The defendant applies to the Court foraWrit to have Da;;jd Wj | ] jams .now
BOP Memphis

being detained in the 1629 Winchester . appear before the Honorab|e M§a_U.a
2005
on ldavl __L. lmnnrm M, ar carney 10:00 am for resentencing

 

and for such other appearances as this Court may direct.
2005
Respeotfu|ly submitted this __l__§day of Ma! , 1@9§.

    

Attorney'
0.000¢§00.0000§§§.§§0.§0¢§0...§.§§¢.00.§§§§§..

Upon consideration of the foregoing Application,

ngmunity Cor£ec£ions Office, 599 UrSemCourthou§§LrNashville, TN
Fax (615) 736-5147

SHERIFF!WARDEN.

 

YOU ARE HEREBY COMMANDED to haven mi ] ] j amsappear before the

Honorah|e J . Mgga ] | g at the date and time aforementioned

2005
ENTERED this day of May . m_-

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un TEI) sTA'rEs Jl`ibGE

 

t entered on the docket sheet in comp\iance

Th'ss docL\men
with lee 55 andlor 32(b\ FF\CrP on

SW

   

UNITED S`…ATEISTIC COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
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May ]9, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

